Case 20-12303-amc   Doc   Filed 04/28/25 Entered 04/28/25 15:41:16   Desc Main
                          Document      Page 1 of 8
Case 20-12303-amc   Doc   Filed 04/28/25 Entered 04/28/25 15:41:16   Desc Main
                          Document      Page 2 of 8
       Case 20-12303-amc              Doc       Filed 04/28/25 Entered 04/28/25 15:41:16          Desc Main
                                                Document      Page 3 of 8
                                      1600 South Douglass Road                Your Escrow Statement
                                      Suites 110 & 200-A
                                      Anaheim, CA 92806                        Property Address: 923 JACKSON STREET
                                                                                              SHARON HILL, PA 19079
                                                                                             Statement Date: 04/11/25
   Important information inside!
                                                                                                      Questions?
                                                                                                     1-800-561-4567
                                                                                       www.CarringtonMortgage.com
           THEODORE A GREEN
           923 JACKSON STREET
           SHARON HILL     PA 19079




   Thank you for being the best part of our Carrington family.
   You are receiving this statement because we have completed your escrow analysis review.

   Your escrow account is an account that we manage on your behalf to pay for your insurance
   and taxes. For more information and resources regarding escrow, login to your Carrington Account
   and select “Escrow Summary” under “Customer Request” on the left menu.




   YOUR NEW PAYMENT:                     EFFECTIVE 06/01/25
                                  CURRENT                NEW                             ANALYSIS SUMMARY
                                  PAYMENT             PAYMENT     CHANGE

   Principal & interest               $514.85           $514.85   -                      You have a surplus of:
   Escrow payment                     $544.91           $552.66       $7.75                   $3,549.39
   Total                          $1,059.76           $1,067.51       $7.75

   The loan is not contractually current, the surplus funds listed may not be actual funds within the escrow
   account.

   Your escrow payment over the next 12 months:
   We estimate your total taxes and/or insurance payments to be $6,631.95 for the next 12 months. Here is
   how we calculated your new monthy escrow payment:
   Home insurance                               $1,693.00             Total escrow                           $6,631.95
   County tax                                     $372.53             Divided by 12 months                          12
   School tax                                    $3,083.11
                                                                      New monthly escrow payment              $552.66
   City tax                                      $1,483.31
   Total escrow                                  $6,631.95



Questions? 1-800-561-4567 • www.CarringtonMortgage.com                                                    Page 1 of 4
Case 20-12303-amc   Doc   Filed 04/28/25 Entered 04/28/25 15:41:16   Desc Main
                          Document      Page 4 of 8
          Case 20-12303-amc              Doc          Filed 04/28/25 Entered 04/28/25 15:41:16 Desc Main
                                                      Document      Page 5 of 8             Statement Date: 04/11/25




ESCROW ACCOUNT HISTORY 06/24 – 05/25
    PAYMENTS TO ESCROW                                     PAYMENTS FROM ESCROW                                 ESCROW BALANCE

Date    Projected           Actual    Projected       Description              Actual Description              Projected         Actual
                                                                                     BEGINNING BALANCE:             $0.00         $0.00
07/24         -               -            -                                     -                                   -             -
02/25         -      *   -$1,768.37        -                                     -                                   -        -$1,768.37
03/25         -               -            -      *                           $372.53 County tax                     -        -$3,624.21
                                           -                                 $1,483.31 City tax
04/25         -      *    $1,454.21        -                                     -                                   -        -$2,170.00
05/25         -               -            -                                     -                                   -        -$2,170.00
Total        $0.00        $314.16-        $0.00                             $1,855.84

An asterisk (*) marks any difference from what was projected in either the amount or date.

If the account is not current and has outstanding payments owed, any surplus funds in the escrow account will be held until the next
escrow review. If there are past due amounts, please contact us for options to bring the account current. We understand that
unforeseen circumstances can have significant impact to our lives, and we are here to help.


                           For more information and resources regarding escrow, login to your Carrington Account and select
                           “Escrow Summary” under “Customer Request” on the left menu.

                           You can also check out our www.CarringtonMortgage.com/learningcenter and search “Escrow” for
                           additional resources.

                           If you prefer to speak with someone, please contact our customer service team at 1-800-561-4567.




Questions? 1-800-561-4567 • www.CarringtonMortgage.com                                                                      Page 3 of 4
Case 20-12303-amc   Doc   Filed 04/28/25 Entered 04/28/25 15:41:16   Desc Main
                          Document      Page 6 of 8
        Case 20-12303-amc          Doc     Filed 04/28/25 Entered 04/28/25 15:41:16          Desc Main
                                           Document      Page 7 of 8


                                   UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:       Theodore A. Green                            CASE NO.: 20-12303-amc
                           Debtor
                                                           CHAPTER 13
              Carrington Mortgage Services, LLC as
              servicer for Elizon Master Participation     Judge: Ashely M. Chan
              Trust I, U.S. Bank Trust National
              Association, as Owner Trustee                Hearing Date:
              v.

              Theodore A. Green
              Scott F. Waterman
                            Respondents

                       CERTIFICATE OF SERVICE OF NOTICE OF PAYMENT CHANGE

        I certify under penalty of perjury that I caused to be served the above-captioned pleading on the parties
at the addresses specified below or on the attached list on April 28, 2025.

       The type(s) of service made on the parties (first-class mail, electronic notification, hand delivery, or
another type of service) was: first-class mail and electronic notification

        If more than one method of service was employed, this certificate of service groups the parties by the
type of service. For example, the full name, email address, and where applicable the full name of the person or
entity represented, for each party served by electronic transmission is listed under the heading “Service by NEF,”
and the full name and complete postal address for each party served by mail are listed under the heading “Service
by First-Class Mail.”

EXECUTED ON: April 28, 2025
                                                 By: /s/ Lauren M. Moyer
                                                 Lauren M. Moyer, Esq.
                                                 FRIEDMAN VARTOLO LLP
                                                 Attorneys for Carrington Mortgage Services, LLC as servicer for
                                                 Elizon Master Participation Trust I, U.S. Bank Trust National
                                                 Association, as Owner Trustee
                                                 1325 Franklin Avenue, Suite 160
                                                 Garden City, NY 11530
                                                 T: (212) 471-5100
                                                 F: (212) 471-5150
                                                 Bankruptcy@FriedmanVartolo.com




 Official Form 410S1                  Notice of Mortgage Payment Change                                     Page 3
Case 20-12303-amc         Doc   Filed 04/28/25 Entered 04/28/25 15:41:16   Desc Main
                                Document      Page 8 of 8



Service by Regular Mail

Theodore A. Green
923 Jackson Street
Sharon Hill, PA 19079
Bankruptcy Debtor

Service by NEF

Michael A. Cibik
1500 Walnut Street, Suite 900
Philadelphia, PA 19102
Attorney

Scott F. Waterman
2901 St. Lawrence Avenue, Suite 100
Reading, PA 19606
Bankruptcy Trustee

United States Trustee
Robert N.C. Nix Federal Building
Suite 320,
Philadelphia, PA 19107
United States Trustee
